                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                         Alexandria Division

-------------------------------------------------------x

UNITED STATES OF AMERICA

                 -v-
                                                               No. 1:19-CR-201-LMB
GEORGE AREF NADER,

                 Defendant.

-------------------------------------------------------x




                           RESPONSE TO JULY 19, 2019 ORDER
                          REGARDING DOCKETED MATERIALS

        The United States does not believe that any of the documents (other than those

portions involving the health status of the Defendant and noted by his counsel) identified

in the docket under the caption indicated above need to remain under seal.

        Though it is not directly responsive, as the Court is aware, the government has

successfully sought to unseal a number of search warrants that were authorized by the

U.S. Magistrate Judges in this Court in this matter. See Dkt. 71. However, there are a

number of search warrants and affidavits that involve charges and subjects beyond that

contained in the current Indictment. While the defense in this matter will be given access

to these documents and the subsequent materials obtained pursuant to this Court’s

Discovery Order and Protective Orders, they should remain under seal until the
investigations are complete for the reasons set forth in the original sealing orders

obtained.

                                              Respectfully submitted,

                                              G. ZACHARY TERWILLIGER
                                              UNITED STATES ATTORNEY


                                              ___/s_________________
                                              Jay V. Prabhu
                                              Laura Fong
                                              Assistant United States Attorneys
                                              U.S. Attorney’s Office
                                              Eastern District of Virginia
July 22, 2019




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                                  Certificate of Service

       I hereby certify that on July 22, 2019, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send a notification of filing (NEF)

to counsel of record for the defense.



                                        By:   ________/s__________________
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